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                                  UN ITED STATES D ISTR ICT C OUR T
                                  SOUTH ERN DISTR IC T O F FLO IU D A

                                        CASE N O .24-CR-20025-1fM +


        UNITED STA TE S O F AM ERICA

        V.

        LUK E W ILSO N ,
               a/k/a ldlim my Cash,''
               a/k/a REthan Sullivan,''

               Defendant.
                                                  /

                                           FA CTU AT,PR OFFER

               TheUnitedStatesandtheDefendant,LukeW ilson (theErefendanf'),stipulatethatifthiq
        case w ere to procyed to trial,the United States'would prove the follow ing facts,am ong others,

        beyond a reasonabld doubt:

               On or about January 10, 2024, a United States C, oast Guard vessçl encountered the

        D efendanton board a vesseltraveling from the Baham asto the Uniied States.Afterobserving
                            w

                                                                             #.

        individùalsdepartthevesselneartheshoreofSurfside,Florida,1aw enforcementjnterdictedthe
'
        vessel.TheDefendantwaivedhts'M irandarightsandspokewith1aw enforéemeht.lnthataudio-
        recorded interview ,the D efendant.told 1aw enforcem entthathepaid an individualin theBaham as

        $4,000totraveltotheUnitedStatesbyboatandhisintentionwastoremain intheUniteddhtes.
        HealsoadmittedShatuponthevessel'sapproachtotheshore,heslippedandwasunabletojump
        oqtoftheboatbèfore itbegan traveling back to theB aham as.

               Law enforcem entconductçd records checksthatrevealed theD efendantw as anationalof

        the United K ingdom w ho was previously rem oved from the United States on oraboutM arch 3,

        2020.TheD efendantdid nothavethe consentofthe A ttorney Generalofthe United Statesorhis
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        stlccessor,the Secreta/ ofHomeland Security,toapply forreadmission intotheUnited Stateson
        oraboutJanuary 10,2024.
.
                 TheU nited Statesand theD efendantagree thatthese facts,which do notinclude a11ofthe

        facts known to the United States and to the D efendant,are sufticientto prove the guiltof the

        Defendantasto the ciime ofReentry ofaRem oved Alien,in violation ofTitle 8,United States

        Code,Section 1326(a).                                                  .
                                                                                                        -




                                              M ARKENZY LAPOINTE
                                              U NITED STATES A TTORNEY


        D ate:                          By:                          .
                                              A UDREY PEN CE TOM AN ELLI
                                              ASSISTANT UNITE; STATESAW ORNEY
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        Date:QI ///' or                 By: D         C
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                                              DEFEND ANT
